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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

  ŌURA HEALTH OY and OURARING INC.,
                                  )
                                  )
                 Plaintiffs,      )
                                  )
  v.                              )       Case No. 2:23-CV-0396-JRG-RSP
                                  )
  ULTRAHUMAN HEALTHCARE PVT. LTD. )
  and ULTRAHUMAN HEALTHCARE LTD., )
                                  )
                 Defendants.      )


       DEFENDANTS’ MOTION TO STAY PENDING FINAL RESOLUTION OF
                         ITC INVESTIGATION
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         Defendants Ultrahuman Healthcare Pvt. Ltd. and Ultrahuman Healthcare Ltd.

  (collectively, “Ultrahuman”) hereby move for an unopposed, mandatory stay under 28 U.S.C. §

  1659(a) of Plaintiffs Ōura Health Oy and Ouraring Inc.’s (collectively, “Oura”) claims for patent

  infringement of U.S. Patent Nos. 10,842,429 (the “’429 Patent), 11,868,178 (the “’178 Patent”)

  and 11,868,179 (the “’179 Patent”), pending resolution of the parallel proceeding before the

  International Trade Commission (“ITC”). Ultrahuman further moves for a discretionary stay of

  Oura’s claim for patent infringement of U.S. Patent No. 10,893,833 (the “’833 Patent”) and claims

  for copyright infringement, also pending the ITC Action – which Oura opposes.

    I.   INTRODUCTION

         The dispute over Ultrahuman’s requested Motion to Stay is narrow and straightforward.

  Three out of the four asserted patents are subject to a mandatory stay under 28 U.S.C. § 1659(a),

  as they are identical to the claims asserted in the related ITC proceeding. Oura does not disagree.

  Instead, Oura only opposes a discretionary stay of its sole non-overlapping patent claim for

  the ’833 Patent, as well as its associated copyright claims. Oura thus seeks to sever the non-

  overlapping claims and hold two separate litigations involving the same accused products. But this

  is inconsistent with Congress’s intent to protect against burdensome parallel litigation. Instead, a

  stay of the non-overlapping ’833 Patent and copyright claims is warranted under this Court’s three-

  factor test for evaluating motions to stay.

         All three factors favor granting the stay. First, Oura will not be unduly prejudiced by a

  stay. In fact, it was Oura that initiated a parallel ITC investigation and deliberately decided not to

  include the non-overlapping ’833 Patent and the copyright claims. Second, a full stay will simplify

  the issues in this case by allowing the Court to benefit from the discovery and rulings in the parallel

  ITC investigation, avoid any inconsistent determinations, and conserve resources by consolidating

  the issues into one litigation rather than proceeding on two separate tracks – first with respect to
                                                    1
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  the ’833 Patent and copyright claims and then another with respect to the three overlapping patents.

  Third, this case is in its literal infancy, providing the parties and the Court the full efficiencies of

  staying this case while the ITC investigation is completed.

         Notably, Oura already acknowledged in a related district court action against another ITC

  respondent -- Circular 1 -- that the three-part analysis supports a discretionary stay of the ’833

  Patent claim. There, the parties told the court that the ’833 Patent was “direct[]ly related” to the

  same subject matter as those at issue in the ITC case and that “a stay pending final resolution of

  the ITC Action w[ould] minimize duplicative litigation, promote judicial efficiency, and help

  conserve the parties’ and th[e] Court’s resources.” See Ex. 1 (Joint Motion to Stay) at 2-3. The

  same would equally apply here. Each of Oura’s claims in the present case – both patent and

  copyright – involve the same accused products and rely on overlapping facts about the accused

  products and their application user interface, thereby inextricably linking them. Therefore, just as

  Oura represented to the court in the Circular Action, a denial of the discretionary stay here would

  similarly create “duplicative and overlapping motion practice and discovery,” while granting it,

  conversely, would “prevent piecemeal litigation” and conserve resources. See Ex. 1 at 6-7.

         For these reasons, set forth in further detail below, Ultrahuman respectfully requests that

  the Court stay the present action in its entirety, pending final resolution of the related ITC Action,

  In the Matter of Certain Smart Wearable Devices, Systems, and Components Thereof, Inv. No.

  337-TA-1398 (referred to herein as the “ITC Action”), including all appeals.




  1
   This litigation, i.e., Oura Health Oy v. Circular SAS, No. 6-22-cv-00478-ADA (W.D.T.X.), will
  be referred to hereinafter as the “Circular Action.”

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      II.   FACTUAL BACKGROUND

            On September 1, 2023, Oura filed its original complaint in the present action against

  Ultrahuman for patent and copyright infringement. Oura’s original complaint only asserted

  the ’833 Patent and ’429 Patent against Ultrahuman. See Dkt. 1 at ¶2.

            Oura had also previously filed a complaint for patent infringement against another

  company named Circular SAS (“Circular”) on May 11, 2022, asserting the ’833 Patent and

  the ’429 Patent. See Ex. 2 (Circular Action, Complaint). Notably, in its complaint against Circular,

  Oura cites to the ’833 Patent to describe both asserted patents as generally directed to the same

  subject matter, i.e., “novel wearable devices, such as rings, for ‘analysing and processing

  biological signals[.]’” Id. at ¶9 (quoting the ’833 Patent at 1:65-67; Figure 1).

            On January 9, 2024, while the two district court actions were pending, two new patents

  issued to Oura: the ’178 Patent and the ’179 Patent. Like the ’833 Patent, the claims of the ’178

  and ’179 Patents generally encompass the structural and functional components of a wearable

  smart ring device. See Dkt. 9-1 (’833 Patent) at cl. 1, Dkt. 9-3 (’178 Patent) at cl. 1, Dkt. 9-4 (’179

  Patent) at cl. 1. Relatedly, the ’429 Patent generally encompasses assessing and displaying specific

  information derived from the data collected by the device. See Dkt. 9-2 (’429 Patent) at cls. 1, 8.

            On March 13, 2024, Oura filed a complaint in the ITC against, inter alia, Circular and

  Ultrahuman, 2 asserting patent infringement of the ’178 Patent, ’179 Patent, and ’429 Patent. 3

  Unlike in the related district court actions, and despite covering similar subject matter, Oura chose

  not to assert the ’833 Patent against any party. The ITC Action was instituted on April 12, 2024


  2
    Unlike the present action, Oura also included Ultrahuman Healthcare SP LLC as a party to the
  ITC complaint. Ultrahuman Healthcare SP LLC is a wholly-owned subsidiary of Ultrahuman
  Healthcare Pvt. Ltd., a party to both this case and the ITC Action.
  3
   Oura filed a Verified Second Amended Complaint in the ITC on May 7, 2024, only to update the
  name and address information for the RingConn respondents. See Ex. 4 at 1.

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  (see Ex. 9 at 1-2), and the final determination is scheduled to issue in less than a year, i.e., no later

  than April 18, 2025. See Ex. 3 (ITC Action, Order No. 7) at 2.

          One day after filing its ITC complaint, on March 14, 2024, Oura filed its First Amended

  Complaint against Ultrahuman in the present case, adding patent infringement claims for the ’178

  and ’179 patents. See Dkt. 9 at ¶2. Oura’s patent infringement claims for the ITC Action thus

  involve three out of the four patents asserted here. All of Oura’s patent infringement claims – both

  here and in the ITC – involve the same Ultrahuman accused products, i.e., Ultrahuman’s ring

  product (i.e., the “Ring AIR”) and the Ultrahuman App. See, e.g., Dkt. 9 at ¶8 (defining “Accused

  Instrumentalities”), Ex. 4 (ITC Action, Verified Second Amended Complaint) at ¶23 (defining

  “Accused Products”). 4 Ultrahuman has not yet responded to the First Amended Complaint (see

  Dkt. 12), and no discovery has been taken by either party. In fact, the scheduling conference was

  only recently set for May 29, 2024. See Dkt. 13.

          In contrast to this case, the parties in the Circular Action have already exchanged initial

  and final contentions, held a Markman Hearing, and received a claim construction order. See, e.g.,

  Ex. 5 (Circular Action, Markman Order). Oura also has not yet moved to amend its complaint in

  that case to include either the ’178 or ’179 Patents; thus, the only patents asserted there are the ’833

  and ’429 Patents. But this still means that just like in the present case, Oura’s patent infringement

  claims also include a claim involving the same ’833 Patent not asserted in the ITC. Despite the

  progressed status of the case and the additional ’833 Patent claim, Circular and Oura jointly moved



  4
    Oura accuses the “Ultrahuman Ring” of patent infringement in the present action but expressly
  identifies both the “Ultrahuman Ring” and “Ultrahuman Ring AIR” as accused products in the
  ITC Action. To avoid confusion, Ultrahuman notes that the “Ultrahuman Ring AIR” is the current
  iteration of Ultrahuman’s ring product and is the only ring product that Ultrahuman presently
  manufactures and offers for sale. See https://www.ultrahuman.com/products/us/?invite=products.
  Without waiving any argument in this or the ITC case, and strictly for the purposes of this motion,
  Ultrahuman will treat the “Ultrahuman Ring” and “Ultrahuman Ring AIR” as the same product.

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  the district court on April 22, 2024, to stay its entire case pending final resolution of the ITC

  Action, including any appeals. See Ex. 1 at 1. Per both parties, a stay “serve[d] the interests of

  judicial economy and efficiency,” which the court promptly granted. Id. at 2; Ex. 6 (Order Granting

  Motion to Stay). For these same reasons, Ultrahuman also seeks a complete stay of the case

  pending final resolution of the ITC Action. But Oura now opposes that, even though Ultrahuman

  makes the same arguments that Oura made just three weeks ago in the Circular Action.

  III.   LEGAL STANDARD

         A.      Mandatory Stay Pursuant to 28 U.S.C. § 1659(a)

         A patentee may bring parallel suits in both district court and the ITC against a party that

  imports an allegedly infringing product. Texas Instruments Inc. v. Tessera, Inc., 231 F.3d 1325,

  1330 (Fed. Cir. 2000). But 28 U.S.C. § 1659 includes a mandatory stay provision that “places

  limits on the timing of [these] parallel actions.” Fuji Photo Film Co. v. Benun, 463 F.3d 1252,

  1256 (Fed. Cir. 2006). The provision explicitly states:

         In a civil action involving parties that are also parties to a proceeding before the
         United States International Trade Commission under section 337 of the Tariff Act
         of 1930, at the request of a party to the civil action that is also a respondent in the
         proceeding before the Commission, the district court shall stay, until the
         determination of the Commission becomes final, proceedings in the civil action
         with respect to any claim that involves the same issues involved in the proceeding
         before the Commission, but only if such request is made within (1) 30 days after
         the party is named as a respondent in the proceeding before the Commission, or (2)
         30 days after the district court action is filed, whichever is later.

  28 U.S.C. § 1659(a). The purpose of this provision “is to prevent separate proceedings on the same

  issues occurring at the same time.” In re Princo Corp., 478 F.3d 1345, 1355 (Fed. Cir. 2007).

         B.      Discretionary Stay Pursuant to the Court’s Inherent Authority

         Apart from the mandatory stay provision of 28 U.S.C. § 1659(a), the Court also has the

  authority to stay proceedings in its cases at its discretion. This discretionary power is “incidental

  to the power inherent in every court to control the disposition of the causes on its docket with


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  economy of time and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299

  U.S. 248, 254 (1936); Spa Syspatronic, AG v. Verifone, Inc., No. 07-CV-416, 2008 WL 1886020,

  at *1 (E.D. Tex. April 25, 2008). How best to manage the Court’s docket “calls for the exercise of

  judgment, which must weigh competing interests and maintain an even balance.” Landis, 299 U.S.

  at 254–55. Courts often consider motions to stay “in an effort to maximize the effective utilization

  of judicial resources and to minimize the possibility of conflicts between different courts.” 5C

  Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. § 1360, at 3 (3d ed. 2013). The Court’s

  discretionary power to stay extends to patent infringement claims that are “related to” patent claims

  asserted in a parallel action. See, e.g., Avago Techs. U.S. Inc. v. IPtronics, Inc., No. 10-CV-02863,

  2013 WL 623042, at *2 (N.D. Cal. Feb. 15, 2013).

         In rendering a decision on discretionary stay, this Court considers three factors:

         (1) whether a stay would unduly prejudice or present a clear tactical disadvantage
         to the nonmoving party; (2) whether a stay will simplify the issues in question and
         trial of the case; and (3) whether discovery is complete and whether a trial date has
         been set.

  See Black Hills Media, LLC v. Samsung Elecs. Co., No. 13-CV-379, 2014 WL 12951780, at *1

  (E.D. Tex. Mar. 17, 2014) (Gilstrap, J.C.). Notably, courts have analyzed these same factors when

  considering motions to stay pending parallel proceedings before the Patent Office. See, e.g., NFC

  Tech. LLC v. HTC Am., Inc., No. 13-CV-1058, 2015 WL 1069111, at *2 (E.D. Tex. Mar. 11, 2015)

  (granting stay pending inter partes review (“IPR”)); Soverain Software LLC v. Amazon.com, Inc.,

  356 F. Supp. 2d 660, 662–63 (E.D. Tex. 2005) (considering factors for pending reexamination).

  IV.    THE COURT MUST STAY AT LEAST THREE OF OURA’S FOUR PATENT
         INFRINGEMENT CLAIMS PURSUANT TO 28 U.S.C. § 1659(a)

         Per this Court, “a District Court ‘shall stay’ parallel litigation” with an ITC proceeding

  under 28 U.S.C. § 1659 “‘until the determination of the Commission becomes final’” if (1) the

  district court action involves parties that are also parties in the ITC proceeding; (2) “the claims for


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  which the stay is requested . . .‘involve[ ] the same issues’” as those before the ITC; and (3) the

  stay is requested by a respondent before the ITC “within thirty days of being named as a respondent

  before the ITC, or within thirty days of the District Court action being filed, whichever is later.”

  Evolved Wireless, LLC v. Samsung Elecs. Co., No. 21-CV-00033, 2021 WL 7161368, at *1 (E.D.

  Tex. Mar. 10, 2021) (Gilstrap, C.J.) (quoting 28 U.S.C. § 1659(a)) (granting stay).

         This is directly the case here for Oura’s patent infringement claims involving

  the ’178, ’179, and ’429 Patents. Each party here is also a party in the ITC Action. All of these

  patents are also the subject of Oura’s infringement allegations against Ultrahuman in the ITC

  Action. Moreover, Ultrahuman files this motion within thirty days of the ITC’s institution of the

  investigation on April 12, 2024. See Ex. 9 at 1-2. The foregoing is not contested by Oura. Thus,

  the statutory requirements to stay at least the patent infringement claims for the ’178, ’179,

  and ’429 Patents have been indisputably met, and so stay should be granted.

         Thus, the only remaining issues are whether the Court should also grant a discretionary

  stay of Oura’s ’833 Patent infringement claim and corresponding copyright claims. It should.

   V.    THE COURT SHOULD STAY OURA’S REMAINING CLAIMS PURSUANT TO
         ITS INHERENT AUTHORITY

         “Congress explicitly intended that district courts should consider using their discretionary

  power to stay patent infringement litigation that is related to, but not duplicative of, an action

  before the ITC.” Zenith Elecs. LLC v. Sony Corp., No. C 11-02439, 2011 WL 2982377, at *2 (N.D.

  Cal. July 22, 2011) (citing H.R. Rep. NO. 103–826(I), at 141) (granting-in-part motion to stay

  pending ITC action). As Oura recognizes, this includes staying cases involving one or more claims

  not before the ITC. See Ex. 1 at 5; see also Black Hills, 2014 WL 12951780, at *1 (granting stay

  pending ITC action where only four of the nine asserted patents were before the ITC).




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         A.      Oura Already Conceded that Stay of the ’833 Patent Claim is Warranted

         At the outset, Oura already conceded in the Circular Action that staying the non-

  overlapping infringement claim of the ’833 Patent was proper under these same circumstances.

  Indeed, the similarities between the present case and the Circular Action are striking. Both cases

  involve the same plaintiff, assert infringement of the same ’429 and ’833 Patents, and the

  defendants are also both respondents in the same ITC Action brought by Oura. And in that same

  ITC Action, Oura re-asserts the same ’429 Patent against both Ultrahuman and Circular along with

  two additional patents that issued in January – the ’178 and ’179 Patents. Oura decided, however,

  not to assert the ’833 Patent against either Ultrahuman or Circular in the ITC. Yet, unlike in the

  Circular Action, Oura opposes a stay of the non-overlapping ’833 Patent claim here. Oura’s

  position is nonsensical, egregious, and entirely belied by its own arguments in the Circular Action.

         For example, as conceded by Oura in its joint motion in the Circular Action:

         “A discretionary stay of this action until the ITC Action is finally resolved will
         serve the interests of judicial economy and efficiency. Commonalities exist with all
         of the patents asserted in the parallel district court and the ITC actions. For example,
         the same product is accused of infringement in both actions. The ITC Action has
         been instituted, and . . . there have been no depositions and no substantial document
         production by either side. Accordingly, a stay of this action will avoid piecemeal
         and unnecessary duplicative litigation, and help to conserve the parties’ and the
         Court’s resources.”

  Ex. 1 at 2. All of this is equally (and irrefutably) true here too, and Oura should not be allowed to

  defeat this motion to stay by walking-back the same arguments on which it relied to secure a stay

  in a related proceeding. The underlying facts are no different, and the application of the same three

  factors should result in the identical conclusion. A discretionary stay is warranted.

         B.      A Stay Would Not Unduly Prejudice Oura Or Cause a Clear Tactical
                 Disadvantage

         Oura will not suffer any undue prejudice by a stay of its ’833 Patent and copyright claims.

  The lack of prejudice is evident from the fact that it was Oura’s own decision to not include


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  the ’833 Patent and copyright allegations in the ITC proceeding. Oura elected to file its ITC

  petition and First Amended Complaint one day apart, and it deliberately chose to pursue in the ITC

  every patent asserted here except the ’833 Patent. Furthermore, the voluntary stay sought in the

  Circular Action with respect to the ’833 Patent highlights the lack of prejudice to Oura of staying

  those claims, as well as the absence of any tactical advantage by a similarly situated defendant.

         Indeed, any allegation of prejudice is belied by Oura’s representation in the Circular

  Action that denying a stay of the ’833 Patent claim would actually “[w]ork a [h]ardship” on Oura.

  See Ex. 1 at 6. Per Oura, “the asserted patents and accused products in both the ITC Action and

  the instant action are very similar, and without a stay, the parties would likely have to conduct

  duplicative and overlapping motion practice and discovery.” Id. And Oura is correct.

         For example, because the ’833 Patent relates to the same subject matter as the overlapping

  patents and is asserted against the same accused products as the overlapping patents, “the

  depositions of witnesses who are knowledgeable on the accused products and at least [the]

  overlapping inventor[s] between the non-overlapping [’833 Patent] patent and [the ’429 Patent]

  asserted in the ITC” would be relevant to both the ITC Action, as well as the non-overlapping

  patent infringement claim here. See, e.g., Arris Enterprises LLC v. Sony Corp., No. 17-CV-02669,

  2017 WL 3283937, at *3 (N.D. Cal. Aug. 1, 2017) (granting motion to stay the entire case where

  four of the five asserted patents were also asserted in the ITC). Thus, “[w]ithout a stay [as to

  the ’833 Patent claim], the parties would have to conduct multiple depositions of the same

  witnesses because of their ability to speak only to the non-overlapping patent while the overlapping

  patents are stayed,” which is burdensome. See id. Put another way, should the Court stay all but

  one of Oura’s patent infringement claims, “this case would essentially be relitigated after the lifting

  of the mandatory stay.” See, e.g., Flexsys Americas, LP v. Kumho Tire, U.S.A., Inc., No. 05CV156,




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  2005 WL 1126750, at *3 (N.D. Ohio Apr. 29, 2005) (noting that “two rounds of discovery would

  ensue absent a stay” pending the related ITC action where, like here, “the majority of th[e] case

  against the[] defendants [was] subject to” the statutory mandatory stay).

         In view of this, Oura recognizes that “[f]orcing the parties to litigate the non-overlapping

  claims” in the present case would “create additional discovery beyond the mere effort of defending

  a lawsuit,” which prejudices Ultrahuman and favors a stay. See Ex. 1 at 6 (quoting Arris, 2017 WL

  3283937, at *3). Thus, Oura’s opposition to this motion is not rooted in law or fact; rather, it is

  pure gamesmanship designed to punish Ultrahuman at the expense of this Court’s time and

  resources. Oura clearly recognizes the undue hardship a denial would bring to this case, and it

  should not be permitted to selectively burden only certain courts and parties.

         Oura will also not suffer any undue prejudice by a stay of its copyright claims for similar

  reasons. Like the ’833 Patent claim, Oura’s copyright claims involve overlapping issues and

  discovery with its overlapping patent claims, particularly for the ’429 Patent. Thus, if this Court

  stays Oura’s overlapping patent claims, but not its copyright claims, the parties would likely have

  to conduct multiple depositions of the same witnesses, e.g., engineers and experts, regarding

  Ultrahuman’s mobile app design. Thus, as with the ’833 Patent claim, a denial of a stay could lead

  to duplicative discovery and motion practice that is costly and burdensome. See, e.g., Flexsys, 2005

  WL 1126750, at *3; Arris, 2017 WL 3283937, at *3. Thus, denying to stay Oura’s copyright claims

  would likely be more prejudicial to Oura than granting the stay, weighing in favor of the stay.

         Moreover, any potential prejudice that Oura may face via a stay is completely minimized

  by the fact that the ITC is expected to issue its final determination in less than a year. See Ex. 3

  (ITC Action, Order No. 7 at 2); see also Cywee Grp. Ltd. v. HTC Corp., No. C17-0932, 2019 WL

  3860303, at *8 (W.D. Wash. Aug. 16, 2019) (noting that a “complete stay” of all claims pending




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  IPR, including non-patent claims, would not be unduly prejudicial because the PTAB’s final

  determination was expected to issue within a year of institution.)

         Finally, Oura’s decision not to pursue any preliminary injunctive relief against Ultrahuman

  – especially on its non-overlapping patent and copyright claims – undercuts any assertion of

  prejudice from staying these claims. See, e.g., Cywee Grp., 2019 WL 3860303, at *8 (cleaned up).

  And any argument that prejudice should be presumed simply because Oura and Ultrahuman are

  competitors is unavailing. See, e.g., PopSockets LLC v. Quest USA Corp., No. 17CV3653, 2018

  WL 4660374, at *2 (E.D.N.Y. Sept. 28, 2018) (rejecting proposition prejudice can be presumed

  when the parties are direct competitors requiring at least “some evidence of prejudice.”)

         Accordingly, this factor weighs in favor of staying the Non-Overlapping Claims.

         C.      A Stay Would Simplify the Issues and Conserve Judicial Resources

         For the same reasons that Oura contended that the “[s]tay of the ’833 Patent-Related

  Claims” would simplify the Circular Action, a stay of the ’833 Patent claim, as well as Oura’s

  copyright claims, would likewise simplify the issues here. See Ex. 1 at 7-8.

                 1.      Non-Overlapping Patent Claim

          As Oura concedes, the ’833 Patent is “directedly related to the same subject matter” as the

  other patents asserted in both the ITC Action and the present case. See id. at 2. In fact, the ’833

  Patent shares common inventors with the ’429 Patent. Compare Dkt. 9-1 with Dkt. 9-2. Further,

  just like with Circular, both the ITC Action and this case “involve the same accused products.”

  See Ex. 1 at 8. Given all these similarities between the present action and the ITC Action, this case

  could likely benefit from the discovery and rulings in the ITC Action, thereby simplifying the

  issues in the case, weighing in favor of a stay. See, e.g., Arris, 2017 WL 3283937, at *4. Similarly,

  “if the [ITC Action] result[s] in [invalidation] of some or all of the asserted claims, either some




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  portion of the litigation will fall away, or the litigation will come to an end altogether,” further

  simplifying the issues in this case and favoring a stay. See NFC Tech., 2015 WL 1069111, at *4.

         In addition to simplifying the issues, a stay will also help conserve judicial resources for

  similar reasons. As Oura acknowledges, “[c]ourts have found that a stay may preserve judicial

  resources where,” like here, “patents challenged before the ITC and ‘non-ITC challenged patents’

  in the district court proceedings are similar in technology, subject matter, and accused products.”

  See Ex. 1 at 7-8. Relatedly, and as Oura recognizes, the present case and the ITC Action “involve

  the ‘complex and technical area of patent … law’ . . . and it is in the interest of all parties and the

  Court to avoid wasteful and useless duplication of the time and effort of the federal courts with the

  simultaneous litigation of two complex and elaborate cases involving substantially the same

  factual issues, claims, and defenses.” Id. at 8 (cleaned up).

         Indeed, courts generally agree to stay non-overlapping claims where, like here, litigating

  them would lead to significant judicial waste. See, e.g., Flexsys, 2005 WL 1126750, at *4 (finding

  a stay pending parallel ITC case would “result in a tremendous savings of judicial time and

  resources,” as without one, the court would be “faced with many of the[] same issues [both before

  and] after the stay is lifted”); Black Hills, 2014 WL 12951780, at *1 (noting that “judicial

  efficiency favor[ed] a stay” where eight of the nine asserted patents related to similar subject

  matter, and so it was “likely that th[e] case [would] present common issues of both law and fact

  that are best considered in a single proceeding”). This Court should do the same.

                 2.      Non-Overlapping Copyright Claims

         For these same reasons, the Court should stay Oura’s copyright claims. That is because

  Oura’s pending copyright claims are entangled with its patent infringement claims. And courts

  routinely stay such entangled claims pending resolution of the parallel proceeding. This is

  particularly true where, like here, the patent and non-patent claims arise from the same basic


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  factual theory, so that discovery for both will be “inextricably intertwined.” See, e.g., Richtek Tech.

  Corp. v. UPI Semiconductor Corp., No. C 09-05659, 2011 WL 445509, at *6 (N.D. Cal. Feb. 3,

  2011) (granting stay of both patent and copyright infringement claims pending reexamination);

  see also PopSockets LLC, 2018 WL 4660374, at *1–2 (staying case including patent and copyright

  infringement claims pending IPR, as “the patent and non-patent claims [were] legally unrelated,

  [but] the underlying factual disputes [were] intertwined”); Cywee Grp., 2019 WL 3860303, at *8

  (granting-in-part defendant’s motion to stay all claims, including non-patent claims, pending IPR).

         In its copyright infringement allegations, Oura alleges that its “copyrighted works” include

  two marketing images of the Oura ring posted on its social media account, as well as the Oura

  App, namely, “the original combination and arrangement of words, data, designs, and colors used

  in connection with the User Interface on [the] Oura App.” See Dkt. 9 at ¶¶13, 90-94. With specific

  respect to the latter allegation, Oura generally alleges that its “Copyrighted User Interface Design”

  is infringed by the “Ultrahuman mobile app” (see id. at ¶¶96, 99) – the same app accused of

  infringing the ’429 Patent (see id. at ¶¶39-54). In addition, Oura alleges copyright infringement by

  two of Ultrahuman’s Instagram posts that include images of the Ring AIR – the structure of which

  Oura alleges is infringed by the ’833, ’178, and ’179 Patents. See, e.g., id. at ¶¶13, 25-38, 55-87,

  96. Thus, all of Oura’s claims – both patent and copyright – involve overlapping issues, as they

  implicate the same accused products. And that’s not all. As Oura itself suggests, its patent and

  copyright infringement claims both stem from the same basic factual theory, i.e., Ultrahuman’s

  allegedly “bold and deliberate effort to replicate the Oura Ring.” See id. at ¶1. Oura’s claims are

  thus inextricably intertwined and will likely have duplicative discovery, which favors a stay.

         It is worth noting that Oura only alleges to have registered two copyrights – both of which

  are directed to specific software versions of Oura’s Mobile App for iOS and Android. See Dkt. 9




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  at ¶93. (citing Registration Nos. TX 9-288-710 (registration for “Oura iOS Mobile App v. 4.11.2.”)

  and TX 9-288-702 5 (registration for “Oura Android Mobile App v. 4.11.3.” )); see also Exs. 7-8

  (copies of the registrations from the official Public Copyright Catalog). Thus, the only potentially

  cognizable copyright infringement claims that Oura could pursue against Ultrahuman would

  implicate the software files of the parties’ mobile app, 6 as “a copyright must be registered before

  filing suit.” Dagel v. Resident News, LLC, No. 11-CV-663, 2012 WL 2068727, at *8 (N.D. Tex.

  June 8, 2012). In other words, the product accused of “infringing” all of Oura’s remaining

  copyright claims would be the same product accused of infringing Ultrahuman’s ’429 Patent

  claims, i.e., the Ultrahuman app. See Dkt. 9 at ¶¶39-54. This again highlights the likelihood of

  duplicative discovery between the patent and non-patent claims, as, for example, the exact same

  witnesses would likely need to be deposed for both the patent and non-patent claims to speak on

  the design, development, and functionality of Ultrahuman’ s code, further favoring a stay.

         Courts have also granted stays as to non-patent claims where, like here, patent infringement

  was the “main thrust” of the litigation. See, e.g., Metrom Rail, LLC v. Siemens Mobility, Inc., No.

  23-CV-3057, 2024 WL 323374, at *2 (S.D.N.Y. Jan. 29, 2024) (cleaned up) (granting stay of non-

  patent claim and noting that “[c]ourts in the Second Circuit have stayed non-patent claims

  alongside patent claims where, as here, the ‘patent claims are the main thrust of th[e] litigation’”);

  see also Richtek, 2011 WL 445509, at *3 (granting stay of both patent and copyright infringement

  claims pending reexamination, where the patent claims were “the true meat and potatoes of th[e]


  5
   In its Amended Complaint, Oura lists this registration number as TX 9-228-702. See id. However,
  as TX 9-228-702 belongs to a third-party, Ultrahuman understands this to be a typographical error
  and will treat it as such only for the purposes of this motion, without waiving any right or argument.
  6
    To be clear, Ultrahuman has not yet responded to Oura’s complaint in the present action (see,
  e.g., Dkt. 12) and makes no admission as to the strength or veracity of any allegation set forth in
  Oura’s Amended Complaint. Ultrahuman reserves all rights to challenge the sufficiency of any of
  Oura’s claims, including, but not limited to, under Federal Rule of Civil Procedure 12(b)(6).

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  action”). That is precisely the case here. Four of the five claims asserted by Oura are patent

  infringement claims, and the remaining copyright claims implicate many of the same factual

  allegations as the patent claims, as explained. This factor favors a stay for this additional reason.

          D.      This Case is Still in its Infancy, Favoring a Stay

          This Court has found this factor to favor a stay where “significant discovery remain[ed]”

  to be completed in the case. See Black Hills, 2014 WL 12951780, at *1. And other courts have

  found the same, particularly where the “bulk” of the parties’ expenses had not yet been incurred

  See, e.g., NFC Tech. 2015 WL 1069111, at *3 (granting stay where the parties had engaged in

  significant discovery and claim construction briefing was complete, but bulk of parties’ expenses

  was likely “still in the future”); Cywee Grp., 2019 WL 3860303, at *6 (“the stage of the litigation

  favor[ed] a stay” because “the court ha[d] yet to hold a claims construction hearing, and the parties

  ha[d] not engaged in dispositive motions practice” for the patent claims); Richtek, 2011 WL

  445509, at *2 (stay favored where an action “is in its early stages; [and] substantial resources have

  not yet been invested in discovery, claim construction, or trial preparation”).

          This present case is in its infancy. Oura’s First Amended Complaint was only filed two

  months ago, and Ultrahuman has not even responded. The scheduling conference has not yet been

  held. There has been no discovery taken. Thus, not just the “bulk” – but nearly all of the parties’

  expenses remain and are “still in the future.” This factor therefore weighs in favor of a stay, and

  Oura can make no cognizable argument otherwise.

  VI.     CONCLUSION

          For the foregoing reasons, Ultrahuman respectfully requests that this Court stay this case

  in its entirety pending final resolution of the ITC Action, including any appeals. Ultrahuman also

  respectfully requests that the Court vacate all deadlines in this case until both the stay is lifted and

  an order is entered setting forth revised deadlines.


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  Dated: May 12, 2024                Respectfully submitted,


                                             /s/ Elizabeth L. DeRieux

                                             Elizabeth L. DeRieux
                                             Texas State Bar No. 05770585
                                             CAPSHAW DERIEUX LLP
                                             114 E. Commerce Ave.
                                             Gladewater, TX 75647
                                             Telephone: 903-845-5770
                                             ederieux@capshawlaw.com

                                             John T. Moehringer
                                             New York Bar No. #2841211
                                             CADWALADER, WICKERSHAM &
                                             TAFT LLP
                                             200 Liberty Street New York, NY 10281
                                             Tel: (212) 504-6000
                                             Fax: (212) 504-6666
                                             John.Moehringer@cwt.com

                                             Attorney for Defendants Ultrahuman
                                             Healthcare Pvt. Ltd. and Ultrahuman
                                             Healthcare Ltd.




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                               CERTIFICATE OF CONFERENCE

         I, John T. Moehringer, hereby certify that counsel has complied with the meet-and-confer

  requirement in Local Rule CV-7(h), and that this motion is opposed. The personal conferences

  required by this rule were conducted telephonically between John T. Moehringer (counsel for

  Defendants) and Jasjit Vidwan (counsel for Plaintiffs) on Wednesday April 24, 2024, Thursday

  April 25, 2024, Monday May 6, 2024, and Wednesday May 8, 2024. Counsel for Plaintiffs has

  indicated that Plaintiffs are unopposed to this motion as to the mandatory stay under 28 U.S.C. §

  1659, but they are opposed to this motion as to the requested discretionary stay. The discussions

  regarding the opposed-portion of this motion have conclusively ended in an impasse, leaving an

  open issue for the Court to resolve.




                                                      /s/ John T. Moehringer
                                                      John T. Moehringer
